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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


UNITED STATES OF AMERICA              §
                                      §
v.                                    §        Criminal No. 4:21-cr-00009
                                      §
ROBERT T. BROCKMAN                    §


DEFENDANT’S AMENDED EXHIBIT LIST FOR COMPETENCY HEARING

Exh. #     Document Identifier             Description             Admitted

DX-1      Brockman_0000105       Email exchange between                Y
                                 Brockman and Dr. Yudofsky,
                                 May 3 – 4, 2017
DX-2      UCSH 0208677           Video, Brockman Reynolds &            Y
                                 Reynolds Texas Birthday
                                 Speech, Nov. 2017
DX-2A     UCSH 0208677           Video, Brockman Reynolds &            Y
                                 Reynolds Texas Birthday
                                 Speech, Nov. 2017 (clip 7:37 –
                                 9:09)
DX-3      UCSH 0212043           Video, Brockman Reynolds &            Y
                                 Reynolds Texas Birthday
                                 Speech, Nov. 2019
DX-3A     UCSH 0212043           Video, Brockman Reynolds &            Y
                                 Reynolds Texas Birthday
                                 Speech, Nov. 2019 (clip 1:26 –
                                 3:18)
DX-4      Brockman_0000573 –     Drs. Denney and Dietz,                Y
          Brockman_0000794;      Transcripts of Examination, May     (filed
          Brockman_0000795 –     18, 2021 and May 20, 2021         under seal)
          Brockman_0001006
DX-5      Brockman_0001980 –     Dr. Park Dietz, Paginated             Y
          Brockman_0002024       Report, June 2021
DX-6      Brockman_0000157 –     Drs. Robert Denney and Park           Y
          Brockman_0000218       Dietz, Transcript of                (filed
                                 Examination, October 20, 2021     under seal)



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Exh. #    Document Identifier               Description               Admitted

 DX-7    Brockman_0000468 –       Dr. Ryan Darby, Transcript of           Y
         Brockman_0000572         Examination, May 5, 2021              (filed
                                                                      under seal)
 DX-8    DRD-0000041 –            Dr. Ryan Darby, Neuroreader             Y
         DRD-0000046              Report, August 20, 2021
 DX-9    Brockman_0002081 –       Dr. Marc Agronin, Curriculum            Y
         Brockman_0002122         Vitae
DX-10    RTBrockman_Medical_      Dr. Marc Agronin, Videos of             Y
         Records_0002180;         Examination, July 11, 2021            (filed
         RTBrockman_Medical_                                          under seal)
         Records_0002181
DX-10A   RTBrockman_Medical_      Dr. Marc Agronin, Videos of             Y
         Records_0002180;         Examination, July 11, 2021
         RTBrockman_Medical_      (clip – DX-11 transcript pg.
         Records_0002181          11:15 – 13:14)
DX-10B   RTBrockman_Medical_      Dr. Marc Agronin, Videos of             Y
         Records_0002180;         Examination, July 11, 2021
         RTBrockman_Medical_      (clip – DX-11 transcript pg. 24:3
         Records_0002181          – 24:23)
DX-10C   RTBrockman_Medical_      Dr. Marc Agronin, Videos of             Y
         Records_0002180;         Examination, July 11, 2021
         RTBrockman_Medical_      (clip – DX-11 transcript pg.
         Records_0002181          101:7 – 101:20)
DX-10D   RTBrockman_Medical_      Dr. Marc Agronin, Videos of             Y
         Records_0002180;         Examination, July 11, 2021
         RTBrockman_Medical_      (clip – DX-11 transcript pg.
         Records_0002181          21:13 – 21:25)
DX-11    RTBrockman_Medical_      Dr. Marc Agronin, Transcript of         Y
         Records_0001952 –        Examination, July 11, 2021            (filed
         RTBrockman_Medical_                                          under seal)
         Records_0002065
DX-12    S.D. Tex. Dkt. No. 102   Dr. Marc Agronin, Expert                Y
                                  Report, August 6, 2021
DX-13    RTBrockman_Medical_      Dr. Marc Agronin, Videos of             Y
         Records_0006239;         Examination, October 3, 2021          (filed
         RTBrockman_Medical_                                          under seal)
         Records_0006241




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Exh. #    Document Identifier               Description              Admitted

DX-13A RTBrockman_Medical_        Dr. Marc Agronin, Videos of            Y
       Records_0006239;           Examination, October 3, 2021
       RTBrockman_Medical_        (clip – DX-14 pg. 36:14 – 38:13)
       Records_0006241
DX-13B RTBrockman_Medical_        Dr. Marc Agronin, Videos of            Y
       Records_0006239;           Examination, October 3, 2021
       RTBrockman_Medical_        (clip – DX-14 pg. 38:19 – 39:13)
       Records_0006241
DX-14 Brockman_0000219 –          Dr. Marc Agronin, Transcript of        Y
       Brockman_0000261           Examination, October 3, 2021         (filed
                                                                     under seal)
DX-15    S.D. Tex. Dkt. No. 172   Dr. Marc Agronin, Supplemental         Y
                                  Expert Report, October 29, 2021
DX-16    Brockman_0002067 –       Dr. Thomas Guilmette,                  Y
         Brockman_0002080         Curriculum Vitae
DX-17    RTBrockman_Medical_      Dr. Thomas Guilmette, Videos           Y
         Records_0002389;         of Examination, July 13, 2021        (filed
         RTBrockman_Medical_                                         under seal)
         Records_0002390
DX-18    RTBrockman_Medical_      Dr. Thomas Guilmette,                  Y
         Records_0002182 –        Transcript of Examination, July      (filed
         RTBrockman_Medical_      13, 2021                           under seal)
         Records_0002250
DX-19    S.D. Tex. Dkt. No. 101   Dr. Thomas Guilmette, Expert           Y
                                  Report, August 6, 2021
DX-20    RTBrockman_Medical_      Dr. Thomas Guilmette, Videos           Y
         Records_0006240;         of Examination, October 2, 2021      (filed
         RTBrockman_Medical_                                         under seal)
         Records_0006242
DX-21    Brockman_0000262 –       Dr. Thomas Guilmette,                  Y
         Brockman_0000286         Transcript of Examination,           (filed
                                  October 2, 2021                    under seal)
DX-22    S.D. Tex. Dkt. No. 173   Dr. Thomas Guilmette,                  Y
                                  Supplemental Expert Report,
                                  October 29, 2021
DX-23    Brockman_0002126 –       Dr. Thomas Wisniewski,                 Y
         Brockman_0002174         Curriculum Vitae
DX-24    S.D. Tex. Dkt. No. 99    Dr. Thomas Wisniewski, Expert          Y
                                  Report, August 6, 2021



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Exh. #       Document Identifier             Description             Admitted

DX-25    RTBrockman_Medical_       Dr. Thomas Wisniewski, Videos         Y
         Records_0006247;          of Examination, October 17,         (filed
         RTBrockman_Medical_       2021                              under seal)
         Records_0006248
DX-26    Brockman_0000423 –        Dr. Thomas Wisniewski,                Y
         Brockman_0000463          Transcript of Examination,          (filed
                                   October 17, 2021                  under seal)
DX-27    S.D. Tex. Dkt. No. 175    Dr. Thomas Wisniewski,                Y
                                   Supplemental Expert Report,
                                   October 29, 2021
DX-28    Brockman_0002025 –        Dr. Christopher Whitlow,              Y
         Brockman_0002066          Curriculum Vitae
DX-29    S.D. Tex. Dkt. No. 100    Dr. Christopher Whitlow, Expert       Y
                                   Report, August 6, 2021
DX-30    S.D. Tex. Dkt. No. 174    Dr. Christopher Whitlow,              Y
                                   Supplemental Expert Report,
                                   October 29, 2021
DX-31    Brockman_0002123 –        Scott Polus, Curriculum Vitae         Y
         Brockman_0002125
DX-32    S.D. Tex. Dkt. No. 97     Scott Polus, Expert Report,           Y
                                   August 6, 2021
DX-33    -                         Dr. Maria Ponisio, Curriculum         Y
                                   Vitae
DX-34    -                         Dr. Maria Ponisio, Presentation       Y
                                   titled “Representative Images
                                   RB Case,” October 30, 2021
DX-35    S.D. Tex. Dkt. No. 98     Dr. Michelle York, Expert             Y
                                   Report, August 6, 2021
DX-36    BCM-0000791 – BCM-        Baylor College of Medicine,           Y
         0000795 (excerpt from     Robert T. Brockman MRI,             (filed
         BCM-0000001 – BCM-        November 2, 2018                  under seal)
         0001467)
DX-37    BCM-0000743 – BCM-        Baylor College of Medicine,           Y
         0000751 (excerpt from     Robert T. Brockman DaTscan,         (filed
         BCM-0000001 – BCM-        February 14, 2019                 under seal)
         0001467)
DX-38    HMH-0000004 –             Houston Methodist Hospital            Y
         HMH-0000160               Medical Records from January        (filed
                                   2020 – March 2021                 under seal)



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Exh. #    Document Identifier             Description             Admitted

DX-39    HMH-0000001 –          Houston Methodist Hospital,           Y
         HMH-0000002            Robert T. Brockman FDG-PET
                                Report, March 12, 2021
DX-40    RTBrockman_Medical_    Dr. James L. Pool, Examination        Y
         Records_0004875 –      Notes, June 14, 2021                (filed
         RTBrockman_Medical_                                      under seal)
         Records_0005048
DX-41    RTBrockman_Medical_    Medical Records from June 24,         Y
         Records_0002406 –      2021, Procedure                     (filed
         RTBrockman_Medical_                                      under seal)
         Records_0002579;
         RTBrockman_Medical_
         Records_0002397 –
         RTBrockman_Medical_
         Records_0002402;
         RTBrockman_Medical_
         Records_0002395 –
         RTBrockman_Medical_
         Records_0002396;
         RTBrockman_Medical_
         Records_0002403 –
         RTBrockman_Medical_
         Records_0002405
DX-42    RTBrockman_Medical_    Houston Methodist Hospital,           Y
         Records_0001798 –      Robert T. Brockman Amyloid
         RTBrockman_Medical_    PET Scan Report, July 28, 2021
         Records_0001799
DX-43    RTBrockman_Medical_    Houston Methodist Hospital,           Y
         Records_0001778 –      Robert T. Brockman MRI, July
         RTBrockman_Medical_    30, 2021
         Records_0001779
DX-44    RTBrockman_Medical_    Neuroreader Report of Robert T.       Y
         Records_0006333 –      Brockman Brain Scan, July 30,
         RTBrockman_Medical_    2021
         Records_0006338
DX-45    RTBrockman_Medical_    Houston Methodist Hospital,           Y
         Records_0005257 –      Robert T. Brockman FDG-PET
         RTBrockman_Medical_    Report, August 24, 2021
         Records_0005258




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Exh. #    Document Identifier             Description            Admitted

DX-46    RTBrockman_Medical_ Houston Methodist Hospital,             Y
         Records_0005711 –    Robert T. Brockman
         RTBrockman_Medical_ Electrophysiology Records,
         Records_0005713      September 2, 2021
DX-47    RTBrockman_Medical_ Houston Methodist Hospital,             Y
         Records_0005714 –    Records from September 15 –          (filed
         RTBrockman_Medical_ 18, 2021, Hospitalization           under seal)
         Records_0005773
DX-48    RTBrockman_Medical_ Email from Dr. James Pool to            Y
         Records_0005774 –    Kathy Keneally attaching Dr.         (filed
         RTBrockman_Medical_ Eugene Lai Neurology                under seal)
         Records_0005775;     Examination Notes, October 7,
         RTBrockman_Medical_ 2021
         Records_0005776 –
         RTBrockman_Medical_
         Records_0005780
DX-59    DBD-0000124 (excerpt WMT Test Interpretive                  Y
         from DBD-0000124 –   Flow Sheet, administered
         DBD-0000126)         by Denney on May 19,
                              2021
DX-60    DBD-0000075 (excerpt NV-MSVT Test Interpretive              Y
         from DBD-0000075 –   Flow Sheet, administered by
         DBD0000076)          Denney on May 19, 2021
DX-61    RTBrockman_Medical_ MSVT Test Interpretive Flow             Y
         Records_0001891      Sheet, administered by Guilmette
         (excerpt from        on July 13, 2021
         RTBrockman_Medical_
         Records_0001883 –
         RTBrockman_Medical_
         Records_0001900)
DX-62    RTBrockman_Medical_ MSVT Test Interpretive Flow             Y
         Records_0006274      Sheet, administered by
         (excerpt from        Guilmette on October 2, 2021
         RTBrockman_Medical_
         Records_0006271 –
         RTBrockman_Medical_
         Records_0006278)
DX-63    -                    NV-MSVT Test Interpretive              Y
                              Flow Sheet, administered by
                              Denney on October 20, 2021


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Exh. #       Document Identifier             Description               Admitted

DX-64    -                         MSVT Test Interpretive Flow            Y
                                   Sheet, administered by Denney
                                   on October 26, 2021
DX-65    DBD-0000110 –             Victoria Symptom Validity              Y
         DBD-0000115               Test, administered to
                                   Brockman by Denney on
                                   May 19, 2021
DX-68    -                         Dr. Park Dietz, Curriculum             Y
                                   Vitae
DX-72    -                         List of all competency testing         Y
                                   undergone by Mr. Brockman at
                                   DOJ request
DX-74    UCSH 0210523              Video, Brockman Reynolds &             Y
                                   Reynolds Texas Birthday
                                   Speech, Nov. 2018
DX-74A UCSH 0210523                Video, Brockman Reynolds &             Y
                                   Reynolds Texas Birthday
                                   Speech, Nov. 2018
                                   (clip 4:55 – 6:16)
DX-75A -                           Video of Dietz and Denney              Y
                                   Exam (October) (GX-93)
                                   (clip – DX-6 transcript pg. 26:7
                                   – 26:17)
DX-75B -                           Video of Dietz and Denney              Y
                                   Exam (October) (GX-93)
                                   (clip – DX-6 transcript pg. 55:18
                                   – 56:11)
DX-75C -                           Video of Dietz and Denney              Y
                                   Exam (October) (GX-93)
                                   (clip – DX-6 transcript pg. 28:18
                                   – 31:9)
DX-75D -                           Video of Dietz and Denney              Y
                                   Exam (October) (GX-93)
                                   (clip – DX-6 transcript pg. 26:7
                                   – 27:6)
DX-75E -                           Video of Dietz and Denney              Y
                                   Exam (October) (GX-93)
                                   (clip – DX-6 transcript pg. 55:4
                                   – 58:15)




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Exh. #     Document Identifier             Description               Admitted

DX-79    BCM-0001129 – BCM-      09/11/2018 medical                      Y
         0001134 (excerpt from   records from visit with               (filed
         BCM-0000001 – BCM-      Dr. Lerner                          under seal)
         0001467)
DX-80    RTBrockman_Medical_     Dr. Pool’s notes from                   Y
         Records_0005049 –       visits with Brockman                  (filed
         RTBrockman_Medical_                                         under seal)
         Records_0005077
DX-81    BCM-0000821 –           10/16/2018 medical                      Y
         BCM-0000822 (excerpt    records from visit with               (filed
         from BCM-0000001 –      Dr. Pool                            under seal)
         BCM-0001467)
DX-82    UCSH 0222949            5/5/2019 Email from                     Y
                                 Brockman to Dr. Pool                  (filed
                                                                     under seal)
DX-83A -                         Dietz/Denney Exam Video –               Y
                                 Day 3 (clip – DX-4 transcript pg.
                                 44:19 – 46:24)



    Respectfully submitted on December 3, 2021.



                                                  /s/ Jason S. Varnado
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